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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

 

LARRY STEVE MELTON, LARRY S.
MELTON and R & J OF TENNESSEE, INC.

Plaintiffs,

vs. No.: 1-02-1152

BANK OF LEXINGTON a branch of the BANK
OF FRIENDSHIP, TERESA HARRIS, B & H
INVESTMENTS, INC., BENNIE FESMIRE,
DIANE TUCKER, HAROLD WALDEN
BLANKENSHIP, DEAN BLANKENSHIP,
FRANKIE STANFILL, KEVIN CARTER,

The law firm of MILAM, CARTER & STANFILL,
REGINA MILLER, TODD HENDERSON,
WILLIAM WILHITE, DAVID RIDDICK,

The law firm of HOLMES, RICH, SIGLER,

& RIDDICK, DON WEBSTER, JIMMY
BARBOUR, WALDON GWINN, JAMES
PUTMAN, TIM PILKINGTON, JAMES E.
SMITH, M.V. WILLIAMS, JR., INVESTMENT
MANAGEMENT FINANCE, INC. and JOHN
DOE I, II, III, and IV

Defendants.

 

ORDER SUBSTITUTING COUNSEL

 

THIS CAUSE came on to be heard by consent of the parties that Robert A. Cox
from the law firm of Glassman, Edwards, Wade & Wyatt P.C. should be substituted as
counsel for Defendants, Frankie Stanfill, Kevin Carter, and the Law F irm of Milam,

Carter, and Stanflll, in place of William F. Burns.

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IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that Robert A.
Cox from the law firm of Glassman, Eclwards, Wade & Wyatt, P.C. is substituted as
counsel for Defendants, Frankie Stanf`lll, Kevin Carter, and the Law Firm of Milam,

Carter, and Stanflll, in place of William F. Bums.

 

IT D sTATEs DISTRIC‘NUDGE

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DATE '

APPROVED BY:

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ROBERT COX - BPR # 14279
Attorneys for Stanflll Defendants
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(901) 527-4673

File No. 2-410

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing document was served
upon the following counsel of record by United States mail, postage prepaid:

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June 3, 2005 to the parties listed

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Notice of Distribution

This notice confirms a copy of the document docketed as number 590 in
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